Case: 1:18-Cv-05369 Document #: 23 Filed: 09/14/18 Page 1 of 2 Page|D #:519

United States District Court Northern District of Illinois
MOTION FOR LEAVE TO APPEAR PRO HAC VICE

 

Case Title: Plantiff(s)
Ubiquiti Networks, Inc.,

VS.

Cambium Networks, Inc. et al., Defendant(s)

 

 

CeSe Nlll'llbel'i '1 218-CV-05369 Judge¢ Gary Feinerman

 

I, Karina Smith hereby apply to the Court

 

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Cambiurn Networks, lnc.; Cambiurn Networks, Ltd.; Blip Networks, LLC; _
Winncom Technologies, Inc.; Sakid Ahmed; and Drnitry Moiseev. by WhOm 1 have been fetallled-

 

I am a member in good standing and eligible to practice before the following courts:

 

 

 

 

 

 

 

Title of Court Date Admitted
U.S. District Court, Northem District of Califomia 2013
U.S. District Court, Central District of California 2018
U.S. District Court, Southem District of California 2015
U.S. Court of Appeals, Federal Circuit, 9th Circuit 2014

 

l have currently, or Within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:

 

Date of Application
Case Number Case Title (Granted or Denied)*

 

None

 

 

 

 

 

 

 

*If denied, please explain:
(Attach additional form if
necessary)

 

 

 

 

Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of lllinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

 

 

 

 

 

 

Has the applicant designated local counsel? Yes v No

 

 

If you have not designated local counsel, Local Rule 83.15{b) provides that the designation must be made within thirty {3 0) days.

Case: 1:18-cv-05369 Document #: 23 Filed: 09/14/18 Page 2 of 2 Page|D #:520

Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?

or is the applicant currently the subject of an investigation of the

applicant’s professional conduct?

Yes

Yes

transferred to inactive status, voluntarily withdrawn, or resigned from the

bar of any court?

denied admission to the bar of any court?

held in contempt of court?

Yes

Yes

Yes

 

 

 

 

 

 

 

 

 

 

 

 

 

No \/

 

 

No \/

 

 

No \/
No \/
No y

 

 

 

 

 

 

 

NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applieant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations

of the applicant’s conduct may have been institutcd.

1 have read the Rules of Professional Conduct for the Northem District of lllinois and the Standards for Professional Conduct within
the Seventh Federal J udicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and

 

 

 

 

 

 

 

 

 

eorrect.
Sf.l'
Date Elcetronic Signature of Applicant

Last Name First Name Middle Narneflnitial

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Strect Addrcss Roomeuite Number
Apphcant S Address 1001 Page Mill Road, Bldg. One, Suite 200

City State ZIP Code Work Phone Number

Palo Alto CA 94304 650.739.7534

 

 

 

 

 

(The pro hac vice admission fee is $15|].0|] and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)

NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
fee for admission to the General Bar is Sl 81 .00 The fee for pro hac vice admission is 3150.00. Admission to the general bar
permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular ease
only. Application for such admission must be made in each case; and the admission fee must be paid in each case.

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